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                                    ORDERED.


         Dated: November 17, 2017




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
                                    www.flmb.uscourts.gov

In re:                                               Chapter 11

SENIOR CARE GROUP, INC.,                             Case No. 8:17-bk-6562-CPM

                                                     Jointly Administered with:
KEY WEST HEALTH AND REHABILITATION
CENTER, LLC,                                         Case No. 8:17-bk-06580-CPM

SCG BAYWOOD, LLC,                                    Case No. 8:17-bk-06563-CPM

SCG GRACEWOOD, LLC,                                  Case No. 8:17-bk-06564-CPM

SCG HARBOURWOOD, LLC,                                Case No. 8:17-bk-06572-CPM

SCG LAURELLWOOD, LLC,                                Case No. 8:17-bk-06576-CPM

THE BRIDGES NURSING AND
REHABILITATION, LLC,                                 Case No. 8:17-bk-06579-CPM

      Debtors.
_________________________________________/

   ORDER ON MOTION OF SCG BAYWOOD, LLC, SCG GRACEWOOD, LLC,
     SCG HARBOURWOOD, LLC, AND SCG LAURELLWOOD, LLC FOR
  ENTRY OF AN ORDER (I) APPROVING BID PROCEDURES IN CONNECTION
WITH THE SALE OF SUBSTANTIALLY ALL OF THEIR ASSETS TO TL CAPITAL
MANAGEMENT, LLC, (II) ESTABLISHING PROCEDURES FOR THE ASSUMPTION
    AND/OR ASSIGNMENT BY THE DEBTORS OF CERTAIN EXECUTORY
 CONTRACTS AND UNEXPIRED LEASES, (III) APPROVING BREAK UP FEE AND
  MINIMUM OVERBID AMOUNT, (IV) APPROVING FORM AND MANNER OF
  NOTICE OF BID PROCEDURES, AND (V) SETTING OBJECTION DEADLINES
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        THESE CASES came on for hearing before the Court on November 9, 2017 at 9:30 a.m.

(the “Hearing”), upon the Motion of SCG Baywood, LLC, SCG Gracewood, LLC, SCG

Harbourwood, LLC, and SCG Laurellwood, LLC for Entry of an Order (I) Approving Bid

Procedures in Connection with the Sale of Substantially All of Their Assets to TL Capital

Management, LLC, (II) Establishing Procedures for the Assumption and/or Assignment by the

Debtors of Certain Executory Contracts and Unexpired Leases, (III) Approving Break Up Fee and

Minimum Overbid Amount, (IV) Approving Form and Manner of Notice of Bid Procedures, and

(V) Setting Objection Deadlines [Doc. No. 196] (the “Motion”).1

        The Debtors have also filed the Motion of SCG Baywood, LLC, SCG Gracewood, LLC,

SCG Harbourwood, LLC, and SCG Laurellwood, LLC for Order Authorizing (I) the Sale of

Substantially All of Their Assets to TL Capital Management, LLC Pursuant to 11 U.S.C. § 363,

Free and Clear of All Liens, Claims and Encumbrances, and (II) Authorizing the Assumption and

Assignment of Contracts [Doc. No. 198] (the “Sale Motion”).

        In the Motion, the Debtors requested that the Court consider the entry of an order (i)

approving the bid procedures in connection with the sale of substantially all of the Debtors’ assets

pursuant to the Sale Motion to the party submitting the highest and best offer at the Auction, (ii)

establishing procedures for the assumption and/or assignment of certain executory contracts and

unexpired leases, (iii) approving a minimum overbid amount and a break-up fee in connection

with such sale, (iv) approving the form and manner of notice of the sale and the bidding

procedures, and (v) setting deadlines for objections to the sale.


1
Unless otherwise defined herein, capitalized terms used herein shall have the meaning ascribed to such terms in the
Motion.




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       The Debtors operate four (4) nursing homes in Pinellas County which are referred to as

Baywood, Gracewood, Harbourwood, and Laurellwood (collectively, the “Facilities”). The

Debtors further announced that the Debtors had received an offer for the purchase of substantially

all of the assets and property utilized with respect to the operation of the Debtors’ four (4)

Facilities (the “TL Purchased Assets”), pursuant to an Operations Transfer Agreement (the “TL

OTA”) from TL Capital Management, LLC (“TL Capital” or “Stalking Horse Bidder”) free and

clear of liens, claims and encumbrances, except certain assumed liabilities as set forth in the TL

OTA. Each of the Facilities operates on real property that the Facilities lease from the owners of

the real estate (the “Owners”). TL Capital has also made an offer to purchase from the Owners the

real estate upon which each of the Facilities is located (collectively, the “Parcels”), pursuant to a

Purchase and Sale Agreement (the “TL Purchase Agreement” and together with the TL OTA

hereinafter referred to together as the “TL Sale Agreements”) between TL Capital and the

Owners. Pursuant to the TL Sale Agreements, the consideration to be paid by TL Capital for the

TL Purchased Assets and the Parcels shall be the total amount of Twenty-Seven Million Dollars

($27,000,000.00) (the “TL Purchase Price”), subject to adjustments set forth in the TL Sale

Agreements.

       At the Hearing, counsel for the Debtors set forth the bid procedures requested by the

Debtors in connection with its receipt of the TL OTA from TL Capital and outlined the deadlines

set forth in the bidding procedures. In addition, as to any bids for substantially all of the TL

Purchased Assets and the Parcels, counsel for the Debtors requested an overbid amount of Two

Hundred Thousand Dollars ($200,000) be approved by the Court. In addition, counsel for the

Debtors requested a break-up fee in the amounts and subject to the conditions described in Ordered

paragraph 3 below.



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       By its Motion, the Debtors request the Court establish the following deadlines and dates with

respect to the relief requested by the Motion:

Bid Deadline                         Monday, January 22, 2018 at 5:00 p.m. (Eastern
                                     Standard Time)
TL Capital Sale Objection            Friday, December 22, 2017
Deadline
Cure Amount Objection                Friday, December 22, 2017
Deadline
TL Capital Assumption                The earlier of (i) 30 days after TL Capital has
Objection Deadline                   designated the contract for assignment and the
                                     counterparty has been notified of the designation
                                     or (ii) Friday, January 26, 2018
Auction                              Thursday, January 25, 2018 at 10:00 a.m.
Competing Bidder Sale                Friday, January 26, 2018
Objection Deadline
Competing Bidder Assumption          Friday, January 26, 2018
Objection Deadline
Sale Hearing                         Monday, January 29, 2018 at 1:30 p.m.

       The Court finds that notice of the Motion and the Hearing to creditors and other parties in

interest was sufficient, that it complied with the Bankruptcy Code, the Federal Rules of

Bankruptcy Procedure, and the Local Rules of this Court.

       The following objections were filed to the Motion and heard by the Court at the Hearing:

(i) Harbourwood TIC Owners’ Objection to Debtors’ Motion Approving Bid Procedures (Docket

No. 196) and Debtors’ Motion Authorizing the Sale of Assets to TL Capital Management, LLC

(Docket No. 198) (the “Harbourwood TIC Objection”) [Doc. No. 204]; (ii) Limited Objection of

the Official Committee of Unsecured Creditors to Motion (the “Committee Objection”) [Doc.

No. 209]; and (iii) Preliminary Objection of Harborwood/Gracewood Acquisition, LLC to

Debtors’ Motion for Approval of Bid Procedures (Docket No. 196) and Debtor’s Motion for

Approval of Sale of Assets to TL Capital Management, LLC (Docket No. 198) (the

“Harborwood/Gracewood Acquisition Objection”) [Doc. No. 210].                 At the Hearing, the

Committee Objection was withdrawn in open court.            The Harbourwood TIC Objection is

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overruled, in part, and deferred, in part; specifically, the Court overruled the Harbourwood TIC

Objection as to all objections raised to the Motion and continued the objections as to the Sale

Motion to be heard at the Sale Hearing scheduled for January 29, 2018 at 1:30 p.m. The

Harborwood/Gracewood Acquisition Objection is overruled, in part, and deferred, in part;

specifically, the Court overruled the Harborwood/Gracewood Acquisition Objection as to all

objections raised to the Motion and continued the objections as to the Sale Motion to be heard at

the Sale Hearing scheduled for January 29, 2018 at 1:30 p.m.

       The Court considered the Motion, together with the record and the arguments of counsel at

the Hearing, and being otherwise duly advised in the premises, and for the reasons announced on

the record at the Hearing, which shall constitute the order of the Court as if specifically provided

herein, finds that the relief requested in the Motion is necessary and appropriate, and that the

Motion is well taken and shall be granted in accordance with the terms and conditions set forth

herein. Specifically, the Court finds that it would be in the best interests of the Debtors, their

creditors and their estates that an orderly procedure for the selection of the highest and best offer

for the sale of the TL Purchased Assets be established. The Court thus finds that it is appropriate to

provide other prospective purchasers with the opportunity to submit competing bids for some or all

of the TL Purchased Assets, and that notice of the proposed sale of the TL Purchased Assets shall

be sent to all parties that expressed an interest in acquiring some or all of the TL Purchased Assets

of the Debtors. The Court also finds that it is appropriate to require any such prospective

purchasers to comply with certain requirements in connection with the submission of competing

bids, and that the bidding procedures proposed by the Debtors, as set forth in the Motion and as

modified herein, are reasonable. The Court further finds that it is appropriate under the

circumstances to approve a minimum overbid amount as set forth below as to any bids for



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substantially all of the TL Purchased Assets and the Parcels. The Court has scheduled a hearing to

approve the sale to the successful bidder (the “Sale Hearing”) for Monday, January 29, 2018 at

1:30 p.m. Accordingly, it is

       ORDERED:

       1.      The Motion is GRANTED.

       2.      The Committee Objection was withdrawn in open court. The Harbourwood TIC

Objection is overruled, in part, and deferred, in part; specifically, the Court overruled the

Harbourwood TIC Objection as to all objections raised to the Motion and continued the objections

as to the Sale Motion to be heard at the Sale Hearing scheduled for January 29, 2018 at 1:30 p.m.

The Harborwood/Gracewood Acquisition Objection is overruled, in part, and deferred, in part;

specifically, the Court overruled the Harborwood/Gracewood Acquisition Objection as to all

objections raised to the Motion and continued the objections as to the Sale Motion to be heard at

the Sale Hearing scheduled for January 29, 2018 at 1:30 p.m.

       3.      The Court approves the following procedures (the “Bid Procedures”) for the

submission and consideration of any written competing bid (“Bid”) by any competing bidder

(“Bidder”) for the TL Purchased Assets and any other assets owned by any of the Debtors as to

which a Bidder (defined below) may submit a Bid (defined below) (collectively, the “Offered

Assets”):

               (a)    Any Bidder must deliver to the parties listed below a Bid for any or all of
                      the Offered Assets and, to the extent such Bid is conditioned on
                      simultaneous purchase of any of the Parcels, such Parcels by no later than
                      5:00 p.m. (Eastern Standard Time) on Monday, January 22, 2018 (the “Bid
                      Deadline”) or such later date agreed to by the Debtors, in consultation with
                      Fifth Third Bank (“Fifth Third”) and the Official Committee of Unsecured
                      Creditors in the Debtors’ bankruptcy cases (the “Committee”). In the event
                      that the Debtors extend the Bid Deadline, the Debtors shall immediately
                      provide notice of the extended Bid Deadline to all prospective bidders. The
                      parties to be served by the Bid Deadline with all Bids are: (i) counsel to the

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         Debtors, Scott A. Stichter, Esq. and Elena Paras Ketchum, Esq., Stichter,
         Riedel, Blain & Postler, P.A., 110 East Madison Street, Suite 200, Tampa,
         Florida 33602, Email: sstichter@srbp.com and eketchum@srbp.com; (ii)
         counsel for the Committee, Robert Lapowsky, Esq., Stevens & Lee, P.C.,
         620 Freedom Business Center, Suite 200, King of Prussia, PA 19406,
         Email: rl@stevenslee.com and Lori V. Vaughan, Esq., Trenam, Kemker,
         Scharf, Barkin, Frye, O’Neill & Mullis, P.A., Suite 2700, Bank of America
         Plaza, 101 East Kennedy Blvd., Tampa, Florida 33602, Email:
         lvaughan@trenam.com, (iii) counsel for Fifth Third, Mark J. Wolfson,
         Esq., Foley & Lardner, LLP, 100 North Tampa Street, Suite 2700, Tampa,
         Florida 33602, Email: mwolfson@foley.com, (iv) the Office of the United
         States Trustee, Attn: Nathan A. Wheatley, Esq., 501 East Polk Street, Suite
         1200, Tampa, Florida 33602, Email: nathan.a.wheatley@usdoj.gov, (v)
         counsel to the Harbourwood Owners, Camille Iurillo, Iurillo Law Group.
         P.A., 5628 Central Avenue St. Petersburg, FL 33707:
         ciurillo@iurillolaw.com (the parties identified in subparagraph (i) – (v)
         above being hereafter referred to as the “Notice Parties”), (vi) each of the
         Owners listed on Schedule 1 attached hereto, and (vii) if the Bidder
         includes Designated Contracts in its Bid, to the other party (or its counsel)
         to the Designated Contracts.

   (b)   Prior to receipt by a prospective Bidder of any information (including
         business and financial information and access to the Debtors) from the
         Debtors, each such Bidder will be required to execute a confidentiality
         agreement in form and content acceptable to the Debtors.

   (c)   A Bid shall be for at least one Facility but may be for multiple Facilities. A
         Bid may be conditioned on simultaneous acquisition of the Parcel relating
         to the Facility or Facilities which are the subject of the Bid. To the extent
         the Bid for a Facility is not conditioned upon simultaneous acquisition of
         the related Parcel, the Bid shall include an agreement by the Bidder to
         accept assignment of the existing lease for such Parcel. If a Bid is for assets
         owned by more than one seller, any allocation of consideration among such
         assets shall not be binding on the applicable sellers and, prior to the
         Auction, the applicable sellers shall attempt, in good faith, to agree on such
         allocation.

   (d)   A Bid submitted by a Bidder must include the following:

         i)     A written offer for some or all of the Offered Assets (the
                “Bidder’s Purchased Assets”) in the form of an operations
                transfer agreement (the “Bidder’s OTA”) and, if applicable,
                a purchase agreement for any of the Parcels proposed to be
                purchased (the “Bidder’s Purchase Agreement” and,
                together with the Bidder’s OTA, the “Bidder’s
                Agreements”), must be executed by such Bidder, in

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                substantially the form of the TL OTA, for any Purchased
                Assets, and the TL Purchase Agreement for any Parcels;
                accompanied by a black-line to show all changes made by
                such Bidder to the form of the TL OTA and, if applicable,
                the TL Purchase Agreement. The Bidder’s Agreements must
                be signed by such Bidder and be subject to acceptance by the
                Debtors and, if applicable, the Owners solely by their
                execution thereof and, in the case of the Bidder’s OTA,
                Court approval. The Debtors, in consultation with Firth
                Third and the Committee, and, if applicable, the Owners
                may accept modifications to the Bidder’s Agreements if the
                Debtors, in consultation with Fifth Third and the Committee,
                and the Owners, if applicable, determine, in the exercise of
                their business judgment, that the proposed modifications
                result in a higher and better offer for the Offered Assets and
                the Parcels. A copy of the TL OTA and the TL Purchase
                Agreement shall be furnished in Microsoft Word format to
                any Bidder requesting a copy.

         ii)    If the Bid is for the TL Purchased Assets and the Parcels, a
                statement that specifically sets forth the extent to which the
                Bid is higher and better than the offer set forth in the TL
                OTA and the TL Purchase Agreement.

         iii)   A designation of any executory contracts or unexpired leases
                such Bidder desires the Debtors to assume and assign to the
                Bidder (the “Designated Contracts”).

         iv)    A purchase price which is cash only (unless otherwise
                agreed by the Debtors, in consultation with Fifth Third and
                the Committee, and, if applicable, the Owners), subject to
                Fifth Third’s, the Committee’s, and the Owners’ ability to
                object to any material changes as to the payment of the
                purchase price.

         v)     A designation of those liabilities of the Debtors and, if
                applicable, the Owners such Bidder intends to assume.

         vi)    Relevant background and financial information reasonably
                satisfactory to the Debtors, in consultation with Fifth Third
                and the Committee, and, if applicable, the Owners
                (including without limitation the latest available audited and
                unaudited financial statements) demonstrating the Bidder’s
                financial ability to close and to consummate an acquisition
                of the Bidder’s Purchased Assets and, to the extent
                applicable, the Parcels, such as (1) evidence of the Bidder’s

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                ability to assume or satisfy the terms and obligations of the
                Bidder’s Agreements, pay the purchase price provided for
                therein and provide adequate assurance of future
                performance as to any Designated Contracts (including any
                leases of any Parcels) pursuant to § 365 of the Bankruptcy
                Code, and (2) a lending commitment from a recognized
                financial institution or cash sources in the amount of the Bid
                subject to only those conditions that are acceptable to the
                Debtors, in consultation with Fifth Third and the Committee,
                and, if applicable, the Owners.
         vii)   A good faith deposit in immediately available funds in the
                amount of the lesser of (A) two percent (2%) of the amount
                of the Bid, and (B) Five Hundred Thousand Dollars
                ($500,000.00) (the “Bid Deposit”), which shall be made
                payable to and delivered to Stichter, Riedel, Blain & Postler,
                P.A. (“Stichter Riedel”), counsel to the Debtors, by no later
                than the Bid Deadline (or such later date agreed to by the
                Debtors, in consultation with Fifth Third and the
                Committee). The Bid Deposit shall be deposited into a
                non-IOTA non-interest-bearing trust account maintained by
                Stichter Riedel. Such Bid Deposit will be non-refundable to
                the Bidder and forfeited to the Debtors (to be allocated
                among them as they shall determine or as ordered by the
                Bankruptcy Court) in the event such Bidder’s Bid is
                approved by the Court at the Sale Hearing as the highest and
                best offer and such Bidder fails to close on the purchase of
                the Bidder’s Purchased Assets for any reason other than the
                failure of a condition to the Bidder’s obligation to close
                provided that such failure was not caused or preceded by a
                default by such Bidder under any Bidder’s Agreement. The
                Bid Deposit will be applied against the purchase price at the
                closing. Within five (5) days following the entry of the Sale
                Order, Stichter Riedel will return the Bid Deposit of all
                Bidders except the Bidder whose Bid is approved by the Sale
                Order (the “Successful Bidder”) and the Backup Bidder
                (defined below). The Backup Bidder’s Bid Deposit will be
                returned within five (5) days following the closing with the
                Successful Bidder.

   (e)   If one of more Bids which meet the requirements stated above (each a
         “Qualified Bid”) are received, an auction (the “Auction”) to be conducted
         in accordance with the Bid Procedures shall be held on Thursday, January
         25, 2018 at 10:00 a.m., at the offices of Stichter, Riedel, Blain & Postler,
         P.A. or at such other location in Tampa, Florida designated by the Debtors.
         All Bidders who submitted Qualified Bids with full authority to participate
         in the Auction must be present in person at the Auction. At the Auction, the

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         Debtors, in consultation with Fifth Third, the Committee, and the Owners
         may request a Bidder to provide additional information demonstrating the
         Bidder’s financial ability to close and to consummate an acquisition of the
         Bidder Purchased Assets and, if applicable, the Parcels. At the Auction, the
         Debtors, in consultation with Fifth Third, the Committee, and the Owners
         shall consider Bids for all of the Offered Assets and Parcels, as well as
         considering bids for certain Offered Assets and/or certain Parcels. The
         Debtors, in consultation with Fifth Third, the Committee, and if applicable,
         the Owners, reserve the right to reject a Bid for only certain Offered Assets
         and/or certain Parcels if, in their sole business judgment, such partial Bid or
         any combination of partial Bids will not result in a higher and better offer
         for the benefit of the Debtors, their estates, and their creditors. At the
         conclusion of the Auction, the Debtors, in consultation with Fifth Third, the
         Committee, and if applicable, the Owners, will announce the Bid or Bids it
         considers to be the highest and best offer(s) for the Offered Assets (the
         “High Auction Bid(s)”), after taking into account all aspects of the Bids
         and the Bidders’ Agreements (including, without limitation, the amount of
         the purchase price, the method and timing of the payment of the purchase
         price, conditions to closing, the time for closing, the representations,
         warranties and covenants to be provided by the Debtors and, if applicable,
         the Break-up Fee (defined below)). At the Sale Hearing, the Debtors will
         seek approval of the High Auction Bid(s). The Bidder(s) who submitted the
         High Auction Bid and any Backup Bids or their authorized representatives
         must be present at the Sale Hearing.

   (f)   The Auction will be conducted as an “open cry” auction. Bidding will
         begin at the purchase price stated in the highest and best Bid(s) as selected
         by the Debtors, in consultation with the Committee and Fifth Third Bank.

   (g)   Any initial Bid for substantially all of the TL Purchased Assets and Parcels
         must provide for a purchase price of at least Seven Hundred and Fifty
         Thousand Dollars ($750,000.00) above the purchase price offered by TL
         Capital. TL Capital shall be entitled to submit further bids at the Auction.
         All subsequent higher Bids for substantially all of the TL Purchased Assets
         and all of the Parcels above the initial Bid (including any subsequent Bid
         which may be made by TL Capital) must be in an amount which nets at least
         One Hundred Thousand Dollars ($100,000.00) in increased consideration
         and be payable in cash (the “Overbid Amount”). For purposes of
         calculating such net increased consideration, the Break-Up Fee shall be
         taken into account.

   (h)   Any successive overbid shall be irrevocable unless and until it is declared to
         not be the highest or best bid. The competitive bidding process among
         Bidders shall continue according to these Bid Procedures until the Debtors
         determine, in the exercise of their business judgment and in consultation



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         with Fifth Third and the Committee, that a Bidder has made the highest and
         best offer to purchase the TL Purchased Assets (the “Prevailing Bidder”).

   (i)   Any Bid shall not be contingent upon receipt of financing or due diligence
         past the Bid Deadline.

   (j)   Any Bidder shall provide satisfactory evidence (as determined by the
         Debtors, in consultation with Fifth Third and the Committee, and, if
         applicable, the Owners) that it is (i) financially able to consummate the
         transaction contemplated by such Bid and (ii) able to consummate the
         transaction on the date and on the terms contemplated by the Bidder’s
         Agreements.

   (k)   Any Bid shall not contain any conditions precedent to such Bidder’s
         obligation to purchase the TL Purchased Assets and the Parcels and assume
         and perform any liabilities to be assumed, other than as may be included in
         the Bidder’s OTA and, if applicable, the Bidder’s Purchase Agreement.

   (l)   Any Bid shall set forth (1) any applicable governmental, regulatory, or
         other approvals and any applicable consents that would be required to be
         obtained, (2) all actions taken to obtain such approvals or consents, (3) any
         approvals or consents obtained, and (4) the Bidder’s best estimates as to the
         likelihood and timing of any such approvals or consents.

   (m)   If any Bid does not conform to all of the requirements set forth above, such
         Bid will not be considered by the Court or be admissible at the Sale
         Hearing, unless otherwise agreed to by the Debtors, in consultation with
         Fifth Third and the Committee.

   (n)   The Court will conduct a hearing (the “Sale Hearing”) on
         Monday, January 29, 2018 at 1:30 p.m, to consider approval of the highest
         and best bid and the sale of the TL Purchased Assets to the Prevailing
         Bidder. At the Sale Hearing, the Debtors will seek entry of an order
         authorizing and approving the sale of the TL Purchased Assets to the
         Prevailing Bidder and will request that such order become effective
         immediately.

   (o)   Upon approval by the Bankruptcy Court, the Successful Bidder shall be
         required to close on the purchase of the TL Purchased Assets pursuant to the
         terms set forth in the asset purchase agreement.

   (p)   At the Sale Hearing, the Court shall register the second highest Bid and
         Bidder (the “Backup Bidder”), whose Bidder’s Agreement shall be a
         binding contract with the Debtors and, if applicable, the Owners and shall
         close in the event the Successful Bidder fails to consummate the acquisition
         of the TL Purchased Assets and, if applicable, the Parcels in accordance

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                       with the provisions described in this Order and in the Sale Order. The bid of
                       the Backup Bidder shall remain irrevocable and the Debtor shall retain the
                       deposit of the Backup Bidder until the Successful Bidder has closed. Any
                       closing with the Backup Bidder shall occur within two (2) days of written
                       notification to the Backup Bidder that the Successful Bidder failed to close.

               (q)     Other than TL Capital, no Bidder submitting any Bid shall be entitled to any
                       expense reimbursement or any break-up, termination or similar fee or
                       payment.

               (r)     All objections to the sale of the TL Purchased Assets to TL Capital shall be
                       filed with the Court and served on the parties set forth in subparagraph (a)
                       above on or before Friday, December 22, 2017 (the “TL Capital Sale
                       Objection Deadline”).

               (s)     All objections to the sale of the Offered Assets to the Prevailing Bidder,
                       other than TL Capital, or the Backup Bidder, other than TL Capital, at the
                       Auction shall be filed with the Court and served on the parties set forth in
                       subparagraph (a) above on or before Friday, January 26, 2018 (the
                       “Competing Bidder Sale Objection Deadline”).

       4.      If the Debtors are required pursuant to this Order to consult with Fifth Third or the

Committee on a particular matter, then to the extent a matter relates to the Harbourwood Parcel,

then the Debtors shall also consult with the Harbourwood TICs through their counsel Camille J.

Iurillo, Esquire of Iurillo Law Group, P.A.

       5.      The Court hereby approves a break-up fee (the “Break Up Fee”) for TL Capital as

liquidated damages for TL Capital’s time, expenses, and lost opportunities in connection with

these transactions if a higher and better offer for some or all of the TL Purchased Assets and

Parcels is received and approved by the Court and the sale is consummated thereafter with the

Successful Bidder, who is not TL Capital as follows: (a) if such sale or sales include substantially

all of the TL Purchased Assets and all of the Parcels and if the TL Allocation Agreement (defined

below) between and among TL Capital, the Debtors, the Owners, the Committee, and Fifth Third

is reached, in the amount of Seven Hundred and Fifty Thousand Dollars ($750,000.00), (b) if such

sale or sales include some but less than substantially all of the TL Purchased Assets and all of the

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Parcels and if the TL Allocation Agreement between and among TL Capital, the Debtors, the

Owners, the Committee, and Fifth Third is reached, in the amount of (i) Seven Hundred and Fifty

Thousand Dollars ($750,000.00) multiplied by (ii) a fraction, the numerator of which is the dollar

amount of the TL Purchase Price allocated pursuant to the TL Allocation Agreement to each

Debtor and each Owner that owns the TL Purchased Assets and the Parcels being sold and the

denominator of which is Twenty Five Million Dollars ($25,000,000.00), and (c) in all other

circumstances, in an amount equal to Three Percent (3%) of the gross sale proceeds payable in

cash at closing of such sale or sales (the “Competing Bid Proceeds”). Further, liability for the

Break Up Fee shall be allocated among the Debtors and Owners as follows (x) if the TL Allocation

Agreement between and among TL Capital, the Debtors, the Owners, the Committee, and Fifth

Third is reached, each Debtor and each Owner shall be liable only for that portion of the Break Up

Fee equal to the percentage of the TL Purchase Price allocated to such Debtor or Owner under the

TL Allocation Agreement, or (y) if the TL Allocation Agreement between and among TL Capital,

the Debtors, the Owners, the Committee, and Fifth Third is not reached, each Debtor and each

Owner shall be liable only for that portion of the Break Up Fee equal to Three percent (3%) of the

Competing Bid Proceeds actually paid to such Debtor or Owner in cash at closing.

Notwithstanding the foregoing , there shall be no Break Up Fee or entitlement to a Break Up Fee

by TL Capital if, prior to the Auction, TL terminates the TL OTA, other than as a result of any

breach of the TL OTA by any of the Debtors. For the avoidance of doubt, the Break Up Fee shall

be paid from the sale proceeds in the event a sale of some or all of the TL Purchased Assets and

Parcels is approved by the Court and consummated thereafter with the Successful Bidder, who is

not TL Capital.




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       6.      The TL Purchase Price has not yet been allocated between and among the Debtors

and the Owners. The obligation of the Debtors and the Owners to close on the TL Sale

Agreements is conditioned on agreements (the “TL Allocation Agreements”) to be negotiated in

good faith (a) between and among TL Capital, the Debtors, the Owners, the Committee, and Fifth

Third allocating the TL Purchase Price and (b) between and among each Debtor, Fifth Third, and

the Committee allocating each Debtor’s portion of the sale proceeds.

       7.      The Court also finds that the Overbid Amount is reasonable under the

circumstances of a bid for substantially all of the TL Purchased Assets and all of the Parcels and

approves the Overbid Amount in such circumstances.

       8.      As soon as practicable, but in any event no later than five (5) business days

following entry of this Order, the Debtors shall serve a notice (the “Assumption and Assignment

Notice”) by first class mail upon each counterparty (including the Owners) to an executory

contract with any Debtor (a “Contract”). The Assumption and Assignment Notice will (i) inform

each recipient that the Debtors are seeking to sell substantially all of their assets, (ii) identify the

Contract, (iii) advise that, in connection with the sale process, such Contract may be assumed and

assigned to TL Capital or another Bidder, (iv) state the amounts (the "Cure Amounts") that the

Debtors assert are due to cure any monetary and non-monetary defaults in the event that the

applicable Contract is assumed and assigned, (v) advise that any objections to the Cure Amounts

(the “Cure Amount Objection”) must be in writing, include the detail described in paragraph 8

below and be filed with the Court no later than Friday, December 22, 2017 (the “Cure Amount

Objection Deadline”), (vi) advise that any objections to the assumption and assignment by TL

Capital of any Contracts identified in an Assumption and Assignment Notice, including based

upon the ability of TL Capital to provide adequate assurance of future performance, (the “TL



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Capital Assumption Objection”) must be in writing, include the detail described in paragraph 8

below and be filed with the Court by the earlier of (i) 30 days after TL Capital has designated the

contract for assignment and the counterparty has been notified of the designation and (ii) Friday,

January 26, 2018 (the “TL Capital Assumption Objection Deadline”), (vii) advise that, in the

event the Prevailing Bidder, other than TL Capital, or Backup Bidder, other than TL Capital,

includes Designated Contracts in its Bid, any objections to the ability of such Prevailing Bidder or

Backup Bidder to provide adequate assurance of future performance (the “Competing Bidder

Assumption Objection”) must be in writing, include the detail described in paragraph 8 below

and be filed with the Court no later than Friday, January 26, 2018 (the “Competing Bidder

Assumption Objection Deadline”), and (viii) advise that any timely asserted Cure Amount

Objection, TL Capital Assumption Objection, and Competing Bidder Assumption Objection will

be decided by the Court at the Sale Hearing.

       9.      Each of the Cure Amount Objection, TL Capital Assumption Objection, and

Competing Bidder Assumption Objection shall set forth: (a) the specific grounds for such

objection; and (b) any and all defaults of the Debtors (whether monetary or non-monetary) that the

objector alleges are in existence under such Contract and if such alleged defaults are

non-monetary, the nature of such non-monetary defaults and the amount of money or the type of

action required to cure such non-monetary defaults.

       10.     Any lessors or other parties to Contracts who fail to assert timely objections to the

proposed assumption and assignment of their Contracts and/or to the Cure Amounts stated in any

Assumption and Assignment Notice shall be conclusively deemed to have waived any such

objections and to have consented thereto.




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         11.   Any lessors or other parties to Contracts filing a Cure Amount Objection, TL

Capital Assumption Objection, or Competing Bidder Assumption Objection must serve the

objection so as to the received by the relevant deadline by the Notice Parties set forth in

subparagraph 3(a) above.

         12.   The granting of the Motion as set forth herein shall not constitute the approval of

any sale of the TL Purchased Assets or any term or provision of the TL Sale Agreements, except

with regard to the Overbid Amount, the Break Up Fee, the objection deadlines, and any other

terms provided herein.

         13.   To the extent there is any inconsistency between the provisions of this Order and

the terms of the TL OTA, the provisions of this Order shall control.

         14.   Following the entry of this Order, the Debtor shall serve a copy of this Order to (a)

parties listed on the Local Rule 1007-2 Parties in Interest List; (b) all parties which, to the

knowledge of the Debtors, have or have asserted liens on the Offered Assets and the Parcels; (c) all

Owners; (d) all counterparties to the Contracts; and (e) any party that has expressed an interest to

the Debtors in acquiring any of the Offered Assets and/or the Parcels. This Court shall retain

jurisdiction to hear and determine all matters arising from or related to the implementation of this

Order.

       Attorney Scott A. Stichter is directed to serve a copy of this order on interested parties who
are non-ECF users and file a proof of service within 3 days of entry of the order.




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